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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                         Case No. 21-cv-20862-BLOOM/Otazo-Reyes

  MILLENNIUM FUNDING, INC.,
  a Nevada corporation, et al.,
           Plaintiffs,

  v.

  1701 MANAGEMENT LLC d/b/a
  LIQUIDVPN, a Puerto Rico limited
  liability company, et. al.,

           Defendants.
                                         /

                ORDER SETTING CONTEMPT SHOW CAUSE HEARING

          THIS CAUSE came before the Court upon Plaintiffs MILLENNIUM FUNDING, INC.,

  VOLTAGE HOLDINGS, LLC, AMBI DISTRIBUTION CORP., AFTER PRODUCTIONS,

  LLC, AFTER II MOVIE, LLC, MORGAN CREEK PRODUCTIONS, INC., MILLENNIUM

  FUNDING, INC., BEDEVILED LLC, MILLENNIUM MEDIA, INC., COLOSSAL MOVIE

  PRODUCTIONS, LLC, YAR PRODUCTIONS, INC., FSMQ FILM, LLC, FW PRODUCTIONS,

  LLC, MILLENNIUM IP, INC., I AM WRATH PRODUCTION, INC., KILLING LINK

  DISTRIBUTION, LLC, 2 BADHOUSE STUDIOS, LLC, LF2 PRODUCTIONS, INC., LHF

  PRODUCTIONS, INC., VENICE PI, LLC, RAMBO V PRODUCTIONS, INC., RUPTURE CAL,

  INC., MON, LLC, SF FILM, LLC, SPEED KILLS PRODUCTIONS, INC., MILLENNIUM IP,

  INC.,   NIKOLA     PRODUCTIONS,     INC.,   WONDER    ONE,      LLC,   BODYGUARD

  PRODUCTIONS, INC., OUTPOST PRODUCTIONS, INC., GLACIER FILMS 1, LLC,

  DEFINITION DELAWARE LLC, HANNIBAL CLASSICS INC., JUSTICE EVERYWHERE

  PRODUCTIONS LLC, STATE OF THE UNION DISTRIBUTION AND COLLECTIONS, LLC,
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  PARADOX          STUDIOS,   LLC,    DALLAS      BUYERS       CLUB,      LLC,   HITMAN      TWO

  PRODUCTIONS, INC., SCREEN MEDIA VENTURES, LLC and 42 VENTURES, LLC

  (collectively, “Plaintiffs”) Motion for Order to Show Cause Why Default Judgment Debtors 1701

  Management, LLC (“1701”), Charles Muszynski (“Muszynski”), and AUH20 LLC (“AUH20”)

  (collectively, “Judgment Debtors”) Should Not Be Held In Civil Contempt (hereafter, “Motion for

  Contempt”) [D.E. 428]. This matter was referred to the undersigned pursuant to 28 U.S.C. § 636

  by the Honorable Beth Bloom, United States District Judge [D.E. 432].

         On March 28, 2022, the Court granted Final Default Judgment in favor of Plaintiffs and

  awarded a money judgment of $15,172,403.00 in favor of Plaintiffs and against Defendants 1701

  Management, LLC (“1701”), Charles Muszynski (“Muszynski”), and AUH2O LLC (“AUH2O”).

  See Final Default Judgment [D.E. 213].

         On January 24, 2023, the Court found Judgement Debtors in civil contempt and ordered

  that a fine of $500/day be imposed upon each of them until they each purge themselves of the

  contempt by completing Forms 1.977. See Order [D.E. 368]. On January 25, 2023, the Court

  further ordered Judgment Debtors to respond without objections to Plaintiffs’ Request for

  Production and serve responsive documents on Plaintiffs’ counsel by February 4, 2023, and to

  provide a location and time for the in-person deposition of Muszynski. See Order [D.E. 371].

         In the Motion, Plaintiffs inform the Court that Judgment Debtors have failed to: respond

  without objections to Plaintiffs’ Request for Production; provide a location and time for the in-

  person deposition of Muszynski; submit completed Forms 1.977; and pay the $500 per day civil

  contempt fine.

         Therefore, it is

         ORDERED AND ADJUDGED as follows:



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         1.      Judgment Debtors SHALL APPEAR via Zoom video conference before the

  undersigned on Tuesday, April 11, 2023 at 2:30 P.M. to show cause why they should not be held

  in contempt for their failure to comply with the foregoing Orders [D.E. 368, 371].

         2.      Corporate Judgment Debtors shall be represented by counsel at the show cause

  hearing. See Nyesa Costa Rica v. Wilson Cap. Grp. Holdings, LLC, No. 11-CV-22036, 2012 WL

  1492344, at *3 (S.D. Fla. 2012) (“It is a well-established principle that ‘a corporation cannot

  represent itself and must be represented by counsel.’”) (internal citation omitted).

         3.      Instructions for the Zoom video conference will be emailed to counsel for Plaintiffs

  prior to the show cause hearing.

         4.      Plaintiffs shall serve a copy of this Order and the Court’s instructions for the Zoom

  video conference on Judgment Debtors Muszynski, 1701, and AUH20 and shall file proof of such

  service before the hearing date.

         DONE AND ORDERED in Chambers at Miami, Florida this 30th day of March 2023.



                                                ___________________________________
                                                ALICIA M. OTAZO-REYES
                                                UNITED STATES MAGISTRATE JUDGE

  Copies via CM/ECF to:

  United States District Judge Beth Bloom
  Counsel of Record
  Garnishees served by Plaintiffs as instructed herein




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